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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN DOE                                            :
                                                    :
                      Plaintiff,                    :
                                                    :
       v.                                           :      Civil Action No.: 19-cv-358- JS
                                                    :
UNIVERSITY OF THE SCIENCES                          :      JURY TRIAL DEMADED
                                                    :
                      Defendant.                    :
                                                    :

                                       NOTICE OF APPEAL

       Plaintiff John Doe hereby gives notice of appeal to the Third Circuit Court of Appeals from the

Order of the District Court entered July 29, 2019 (Doc No. 37) and the Opinion of the District Court

granting Defendant's Motion to Dismiss entered July 29, 2019 (Doc No. 36).

                                            Respectfully submitted,

                                            MINCEY FITZPATRICK ROSS, LLC


Date: August 23, 2019                By:    /s/ Riley H. Ross III
                                            Riley H. Ross III, PA I.D. #204676
                                            Zainab K. Ali, PA I.D. #321181
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                                CERTIFICATE OF SERVICE

       I, Riley H. Ross III, hereby certify that I caused a true copy of the foregoing Notice to be

served via ECF and that the document is available for viewing.



Date: August 23, 2019                        /s/ Riley H. Ross IIII
                                             Riley H. Ross III
